Case 4:09-cv-00546-GKF-PJC Document 241 Filed in USDC ND/OK on 03/09/12 Page 1 of 1




                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OKLAHOMA

   SAMMY BEETS AND MELISSA BEETS,                            )
   on behalf of T.B., a minor child, et al.,                 )
                                                             )
                              Plaintiffs,                    )
                                                             )
   v.                                                        ) Case No. 09-CV-546-GKF-PJC
                                                             )
   BLUE TEE CORP., et al.,                                   )
                                                             )
                              Defendants.                    )

                                                    ORDER

               Before the Court is the Joint Motion to Dismiss Pursuant to Fed. R. Civ. P. 41(a)(2), filed

   by Plaintiffs and Defendants Blue Tee Corp. (“ Blue Tee”) and Gold Fields Mining, LLC (“Gold

   Fields”) on March 9, 2012 [Dkt. # 240].

               Pursuant to Rule 41(a)(2), and for good cause shown, the Court hereby ORDERS that all

   pending claims asserted by all Plaintiffs against Defendants Blue Tee and Gold Fields are

   dismissed with prejudice. The Court further ORDERS that all pending Third-Party Claims

   asserted by Defendants/Third-Party Plaintiffs Blue Tee and Gold Fields are dismissed without

   prejudice.

               Each of the parties to these claims is responsible for payment of his, her, or its own costs

   and attorneys fees. This Order does not impact any claims between any parties not specifically

   identified herein.

   SO ORDERED:

   Dated this 9th day of March, 2012




   1815434.1
